     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 1 of 26 Page ID #:10


                             D                                   ~i~~~

 1   NICOLA T. HANNA                                      1~1~ Dc~ f 9 PM 2~   I
     United States Attorney
 2   DENNISE D. WILLETT                      ~L~,, '~' `,'.>. ~~"I ~~~'.'~ T CGURT
     Assistant United States Attorney         U..~k i ~;r L L{ ~. ~~ CALF
 3   Chief, Santa Ana Branch Office                     ~'~~'~~k x+W
     LAWRENCE E. KOLE (Cal., Bar No. 141582) ~~~
 4   Assistant United States Attorney
          411 West Fourth Street, Suite 8000
 5        Santa Ana, California 92701
          Telephone: (714) 338-3594
 6        Facsimile: (714) 338-3564
          E-mail:    larry.kole@usdoj.gov
 7
     Attorneys for Plaintiff
 8   UNITED STATES OF AMERICA

 9                                UNITED STATES DISTRICT COURT

10                               CENTRAL DISTRICT OF CALIFORNIA

11                                     SOUTHERN DIVISION

12   UNITED STATES OF AMERICA,                     Case No. SA CR 18- ~ba~p~~~s

13               Plaintiff,                        PLEA AGREEMENT FOR DEFENDANT MIHAE
                                                   PARK
14                      v.

15   MIHAE PARK,

16               Defendant.

17

18         1.    This constitutes the plea agreement between Defendant Mihae

19   Park and the United States Attorney's Office for the Central District

20   of California (the "USAO") in the above-captioned case.                    This

21   agreement is limited to the USAO and cannot bind any other federal,

22   state, local, or foreign prosecuting, enforcement, administrative, or

23   regulatory authorities.

24                                  DEFENDANT'S OBLIGATIONS

25         2.    Defendant agrees to:

26               a.     Give up the right to indictment by a grand jury and,

27   at the earliest opportunity requested by the USAO and provided by the

28   Court, appear and plead guilty to a two-count information in the form
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 2 of 26 Page ID #:11




 1   attached to this agreement as Exhibit A or a substantially similar

 2   form, which charges defendant with visa fraud, a violation of Title

 3   18, United States Code, Section 1546(a), and with filing a false tax

 4   return, a violation of Title 26, United States Code, Section 7206(1).

 5                b.   Not contest facts agreed to in this agreement.

 6                c.   Abide by all agreements regarding sentencing contained

 7   in this agreement.

 8                d.   Appear for all court appearances, surrender as ordered

 9   for service of sentence, obey all conditions of any bond, and obey

10   any other ongoing court order in this matter.

11                e.   Not commit any crime; however, offenses that would be

12   excluded for sentencing purposes under United States Sentencing

13   Guidelines ("U.S.S.G." or "Sentencing Guidelines") ~ 4A1.2(c) are not

14   within the scope of this agreement.

15                f.   Be truthful at all times with Pretrial Services, the

16   United States Probation Office, and the Court.

17                g.   Pay the applicable special assessment at or before the

18   time of sentencing unless defendant lacks the ability to pay and

19   prior to sentencing submits a completed financial statement on a form

20   to be provided by the USAO.

21                h.   Not seek the discharge of any restitution obligation,

22   in whole or in part, in any present or future bankruptcy proceeding.

23                i.   To comply with applicable State Bar reporting

24   requirements set forth in California Business and Professions Code

25   ~ 6068(0).

26

27

28
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 3 of 26 Page ID #:12




 1         3.     Defendant further agrees:

 2                a.    Truthfully to disclose to law enforcement officials,

 3   at a date and time to be set by the USAO, the location of,

 4   defendant's ownership interest in, and all other information known to

 5   defendant about, all monies, properties, and/or assets of any kind,

 6   derived from or acquired as a result of, or used to facilitate the

 7   commission of, defendant's illegal activities, and to forfeit all

 8   right, title, and interest in and to such items, specifically

 9   including all right, title, and interest in and to the following

10   assets, which defendant admits constitute the proceeds of defendant's

11   illegal activity in violation of 18 U.S.C. ~ 1546(a) and 26 U.S.C.

12   ~ 7206(1):      $50,800.00 from A11 Star Capital Account No. XXX8-ACG;

13   , $234,824.81 from Fidelity Account No. XXX-XX3804; $6,857.70 from JP

14   Morgan Chase Account No. XXXXX6267; and a 2015 Volkswagen GTI, VIN

15   3VW4T7AU7FM043224, seized by law enforcement officials on August 31,

16   2017; and $128,600.00, which was provided to the government by

17   defendant as cash in lieu of a 2012 California Ferrari, VIN

18   ZFF65LJA8C0184890, License No. 6YZF143.

19              b.     To the Court's entry of an order of forfeiture at or

20   before sentencing with respect to these assets and to the forfeiture

21   of the assets.

22              c.     To take whatever steps are necessary to pass to the

23   United States clear title to the assets described above, including,

24   without limitation, the execution of a consent decree of forfeiture

25   and the completing of any other legal documents required for the

26   transfer of title to the United States.

27              d.     Not to contest any administrative forfeiture

     proceedings or civil judicial proceedings commenced against these

                                            3
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 4 of 26 Page ID #:13




 1    properties pursuant to 18 U.S.C. § 981 (b) and 18 U.S.C.

 2   ~ 981(a)(1)(A) and (C).      With respect to any criminal forfeiture

 3   ordered as a result of this plea agreement, defendant waives the

 4    requirements of Federal Rules of Criminal Procedure 32.2 and 43(a)

 5   regarding notice of the forfeiture in the charging instrument,

 6   announcements of the forfeiture sentencing, and incorporation of the

 7 I forfeiture in the judgment.      Defendant acknowledges that forfeiture

 8   of the assets is - part of the sentence that may be imposed in this

 9   case and waives any failure by the Court to advise defendant of this,

10   pursuant to Federal Rule of Criminal Procedure 11(b)(1)(J), at the

11   time the Court accepts defendant's guilty pleas.

12               e.   Not to assist any other individual in any effort

13   falsely to contest the forfeiture of the assets described above.

14               f.   Not to claim that reasonable cause to seize the assets

15   was lacking.

16               g.   To prevent the transfer, sale, destruction, or loss of

17   any and all assets described above to the extent defendant has the

18   ability to do so.

19               h.   To fill out and deliver to the USAO a completed

20   financial statement listing defendant's assets on a form provided by

21   the USAO.

22               i.   -That forfeiture of assets described above shall not be

23   counted toward satisfaction of any special assessment, fine, or costs

24   the Court may impose.

25         4.    Defendant admits that defendant received $763,418.90 of

26   unreported income for tax years 2009 through 2014, as described in

27   paragraph 13 below.     Defendant agrees that:

28
      Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 5 of 26 Page ID #:14




 1                 a.   Defendant will, if requested to do so by the Internal

 2    Revenue Service ("IRS"), provide the IRS with information regarding

 3    the years covered by the returns; will promptly pay all additional

 4    taxes and all penalties and interest assessed by the IRS on the basis

 5    of the returns; and will promptly pay all additional taxes and all

 6    penalties and interest thereafter determined by the IRS to be owing

 7    as a result of any computational error(s).

 8                 b.   Nothing in this agreement forecloses or limits the

 9    ability of the IRS to examine and make adjustments to defendant's

10    returns after they are filed.

11                 c.   Defendant will not, after filing the returns, file any

12    claim for refund of taxes, penalties, or interest for amounts

13    attributable to the returns filed in connection with this plea

14    agreement.

15               d.     Defendant is liable for the fraud penalty imposed by

16    the Internal Revenue Code, 26 U.S.C. ~ 6663, on the understatement

17    of tax liability for tax years 2009 through 2014.

18               e.     Defendant gives up any and all objections that could

19    be asserted to the Examination Division of the IRS receiving

20    materials or information obtained during the criminal investigation

21    of this matter, including materials and information obtained through

22    grand jury subpoenas.

23               f.     Defendant will sign closing agreements with the IRS

24    contemporaneously with the signing of this plea agreement, permitting

25    the IRS to assess and collect the total sums of $15,975.00,

26    $23,326.00, $81,523.00, $102,001.00, $21,828.00, and $22,335.00 for

27 I defendant's tax years 2009, 2010, 2011, 2012, 2013, and 2014,

28.   respectively, which comprises the tax liabilities, as well as assess

                                             5
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 6 of 26 Page ID #:15




 1 ' and collect the civil fraud penalty for each year and statutory

 2   interest, on the tax liabilities, as provided by law.

 3                              THE USAO'S OBLIGATIONS

 4         5.    The USAO agrees to:

 5               a.   Not contest facts agreed to in this agreement.

 6               b.   Abide by all agreements regarding sentencing contained

 7 d in this agreement.

 8               c.   At the time of sentencing, provided that defendant

 9   demonstrates an acceptance of responsibility for the offenses up to

10   and including the time of sentencing, recommend a two-level reduction

11   in the applicable Sentencing Guidelines offense level, pursuant to

12   U.S.S.G. ~ 3E1.1, and recommend and, if necessary, move for an

13 l additional one-level reduction if available under that section.

14              d.    Recommend that defendant be sentenced to a term of

15   imprisonment no higher than the low end of the applicable Sentencing

16   Guidelines range, provided that the offense level used by the Court

17   to determine that range is 21 or higher and that the Court does not

18   depart downward in offense level or criminal history category..          For

19   purposes of this agreement, the low end of the Sentencing Guidelines

20   range is that defined by the Sentencing Table in U.S.S.G. Chapter 5,

21   Part A, without regard to reductions in the term of imprisonment that

22   may be permissible through the substitution of community confinement

23   or home detention as a result of the offense level falling within

24   Zone B or Zone C of the Sentencing Table.

25                              NATURE OF THE OFFENSE

26        6.    Defendant understands that for defendant to be guilty of

27   the crime charged in count one, that is, visa fraud in violation of

28   18 U.S.C: ~ 1546(a), the following must be true:         (1) defendant
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 7 of 26 Page ID #:16




 1    knowingly caused to be obtained or received an immigrant or non-

 2   immigrant visa, alien registration receipt card, or other document

 3    prescribed by statute or regulation as evidence of authorized stay or

 4   employment in the United States; and (2) defendant knew the document

 5   to have been procured by means of any false claim or statement, or by

 6   fraud.

 7          Defendant understands that for defendant to be guilty of the

 8   crime charged in count two, that is, filing a false tax return in

 9   . violation of 26 U.S.C. ~ 7206(1), the following must be true:         (1)

10   defendant signed and filed a tax return, or subscribed to the return

11   h and authorized its electronic filing, for the year 2012 that she knew

12   contained false information as to a material matter; (2) the return

13   contained a written declaration that it was being signed subject to

14   the penalties of perjury; and (3) in filing the false tax return or

15   subscribing to it and authorizing it to be electronically filed,

16   defendant acted willfully.

17          A matter is material if it had a natural tendency to influence,

18   or was capable of influencing, the decisions or activities of the

19   IRS.    Defendant acted willfully if defendant knew that federal tax

20   law imposed a duty on her and defendant intentionally and voluntarily

21   violated that duty.

22                            PENALTIES AND RESTITUTION

23          7.   Defendant understands that the statutory maximum sentence

24   that the Court can impose for a violation of Title 18, United States

25   Code, Section 1546(a) is:      ten years' imprisonment; a three-year

26   period of supervised release; a fine of $250,000 or twice the gross

27   gain or gross loss resulting from the offense, whichever is greatest;

28   and a mandatory special assessment of $100.

                                            7
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 8 of 26 Page ID #:17




 1         Defendant understands that the statutory maximum sentence that

 2   the Court can impose for a violation of Title 26, United States Code,

 3   Section 7206(1) is:     three years' imprisonment; a one-year period of

 4   supervised release; a fine of $100,000; and a mandatory special

 5   assessment of $100.

 6         8.    Defendant understands, therefore, that the total maximum

 7   sentence for all offenses to which defendant is pleading guilty is:

 8   13 years' imprisonment; a three-year period of supervised release; a

 9   fine of $350,000 or twice the gross gain or gross loss resulting from

10   the offenses, whichever is greatest; and a mandatory special

11   assessment of $200.

12         9.   Defendant agrees to make full restitution to the victim s)

13   of the offenses to which defendant is pleading guilty.          Defendant

14   , agrees that, in return for the USAO's compliance with its obligations

15   under this agreement, the Court may order restitution to persons

16   other than the victim(s) of the offenses to which defendant is

17   pleading guilty and in amounts greater than those alleged in. the

18   counts to which defendant is pleading guilty.        In particular,

19   defendant agrees that the Court may order restitution to any victim

20   of any relevant conduct, as defined in U.S.S.G. ~ 1B1.3, in

21   connection with the offenses to which defendant is pleading guilty

22   any losses suffered by that victim as a result.         The parties

23   currently believe that the applicable amount of restitution is

24   approximately $266,988.00 to the government in regard to count two

25   and relevant conduct related to the conduct in count two and are not

26   aware of any amount related to count one, but they recognize and

27   agree that this amount could change based on facts that come to the

28   attention of the parties prior to sentencing.        Defendant understands

                                           :~
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 9 of 26 Page ID #:18




 1    and agrees that the Court: (a) may order defendant to pay restitution

 2   in the form of any additional taxes, interest, and penalties that

 3   defendant owes to the United States based upon the count of

 4   conviction and any relevant conduct such as the failure to pay taxes

 5   owed for tax years 2009 to 2011 and 2013 to 2014; and (b) must order

 6   defendant to pay the costs of prosecution, which may be in addition

 7   to the statutory maximum fine stated above.

 8         10.   Defendant understands that supervised release is a period

 9   of time following imprisonment during which defendant will be subject

10   to various restrictions and requirements.        Defendant understands that

11   ~ if defendant violates one or more of the conditions of any supervised

12   release imposed, defendant may be returned to prison for all or part

13   of the term of supervised release authorized by statute for the

14   offense that resulted in the term of supervised release, which could

15   result in defendant serving a total term of imprisonment greater than

16   '. the statutory maximum stated above.

17         11.   Defendant understands that, by pleading guilty, defendant

18   may be giving up valuable government benefits and valuable civic

19   rights, such as the right to vote, the right to possess a firearm,

20   the right to hold office, and the right to serve on a jury.

21   Defendant understands that once the court accepts defendant's guilty

22   plea, it will be a federal felony for defendant to possess a firearm

23   or ammunition.    Defendant understands that the conviction in this

24   case may also subject defendant to various other collateral

25   consequences, including but not limited to revocation of probation,

26   parole, or supervised release in another case and suspension or

27   revocation of a professional license.       Defendant understands that



                                            D
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 10 of 26 Page ID #:19




 1    unanticipated collateral consequences will not serve as grounds to

 2    withdraw defendant's guilty plea.

 3            12.   Defendant understands that, if defendant is not a United

 4    States citizen,. the felony conviction in this case may subject

 5    defendant to: removal, also known as deportation, which may, under

 6    some circumstances, be mandatory; denial of citizenship; and denial

 7    of admission to the United States in the future.         The court cannot,

 8    and defendant's attorney also may not be able to, advise defendant

 9    fully regarding the immigration consequences of the felony conviction

10    in this case.      Defendant understands that unexpected immigration

11    consequences will not serve as grounds to withdraw defendant's guilty

12    plea.

13                                    FACTUAL BASIS

14         13.      Defendant admits that defendant is, in fact, guilty of the

15    offenses to which defendant is agreeing to plead guilty.          Defendant

16    and the USAO agree to the statement of facts provided below and agree

17    that this statement of facts is sufficient to support pleas of guilty

18    to the charges described in this agreement and to establish the

19    Sentencing Guidelines factors set forth in paragraph 14 below but is

20    not meant to be a complete recitation of all facts relevant to the

21    underlying criminal conduct or all facts known to either party that

22   relate to that conduct.

23         From at least 2000 to 2017, defendant was an attorney licensed

24   to practice in California who handled immigration matters.           During

25   that time, defendant submitted numerous petitions to U.S. Citizenship

26   and Immigration Services ("CIS") for employment-based visas .for the

27   benefit of clients who were aliens (i.e., foreign-born individuals

28   who were not U.S. citizens).      Such visas provided these clients with

                                            10
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 11 of 26 Page ID #:20




 1    authorization by the U.S. government to enter, reside, and be

 2    employed in the United States.      These employment-based visas were

 3    sought by or on behalf of the prospective employers of such aliens,

 4    who were known as the petitioners for the visas.         Defendant's

 5    clients, who were purportedly to be employed by these petitioners,

 6    were known as the beneficiaries of the visa petitions.

 7          A business in the United States that seeks to employ an alien

 8    may file either (1) a non-immigrant petition seeking a temporary

 9    employment visa for the alien using Form I-129 or (2) an immigrant

10    petition seeking permanent resident status for the alien using Form

11   I I-140.   Supporting documentation must be provided with either type of

12    petition regarding the petitioner's finances, the prospective

13    employment, and the beneficiary's history and educational and

14    professional qualifications.      This documentation must also include a

15    labor certification from the U.S. Department of Labor, Employment and

16    Training Administration, that there were not sufficient U.S. workers

17    able, willing, qualified, and available to accept the job opportunity

18    in the area of intended employment and that employment of the foreign

19    worker would not adversely affect the wages and working conditions of

20    similarly employed U.S. workers.      When an attorney represented a

21    petitioner in a matter before CIS, the attorney was required to

22    submit CIS Form G-28 to provide notice to CIS that s/he was handling

23    the matter.

24         Defendant submitted at least 25 I-129 and I-140 visa petitions

25    to CIS between 2000 and 2017 that contained false information that

26   defendant knew was false.      This false information included

27   defendant's use of the alias Michelle Park or Michelle Lee for

28   herself, which was listed as the petitioner's purported "employer

                                            11
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 12 of 26 Page ID #:21




 1    contact;" using defendant's own name as the registrar at a school

 2    attended by a beneficiary; claiming that an individual who was the

 3    petitioner in one petition was an employee of a different entity in

 4    another petition; listing a particular individual as an employee of

 5    multiple petitioners; stating that a deceased or retired individual

 6    was an employee of a petitioner; inclusion of identical photographs,

 7    diagrams, and addresses in petitions for different businesses; false

 8    descriptions of the businesses; submission of descriptions of the

 9    businesses of and lists of employees of different petitioning

10    companies which information or lists were repeated with nearly

11    identical language or the same employees in petitions for other

12    businesses; false and contradictory statements regarding the numbers

13    of employees, the positions occupied by employees, and salary and

14    wages that were said to have been paid to beneficiaries and other

15 ' employees; use of non-existent and false Social Security numbers for

16    employees of petitioners; inconsistent information regarding a

17   petitioner in different petitions submitted on its behalf; copies of

18   a particular document submitted by a petitioner in different

19   petitions that did not match; information regarding citizenship and

20   legal resident status that was inconsistent with immigration records;

21   inconsistent statements of the name, gender, date of birth, Social

22   Security number, residence, education, foreign employment, and time

23   of employment of particular beneficiaries; submission of documents

24   purporting to be the petitioners' tax returns that did not match the

25   actual tax returns filed by the petitioners; statements that a

26   beneficiary would work at a location in a different region of the

27   country than the beneficiary's residence; and inconsistent statements

28   regarding the identity of petitioners' landlords and the amounts of

                                            12
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 13 of 26 Page ID #:22




 1    rent paid by petitioners.

 2          Defendant submitted two such fraudulent petitions on behalf of

 3    Best Educational Institute, Inc. ("BEI"), located at 9240 Garden

 4    Grove Blvd., Ste. 17, Garden Grove, California.         Defendant submitted

 5    I-140 immigrant visa petitions on BEI's behalf for purported employee

 6    beneficiaries S.Y.K. and Y.S.K.       The I-140 petition for S.Y.K. was

 7    sent to CIS by mail on August 23, 2013 with a return address of the

 8    Law Offices of Mihae Park.      The I-140 petition for Y.S.K. was

 9    received by CIS on April 30, 2013.         CIS approved the visa petition

10    for S.Y.K. on September 4, 2013 and the visa petition for Y.S.K. on

11    May 22, 2013.    Based on the approved visa petition for S.Y.K., CIS

12    issued a Form I-551, Permanent Resident Card ("green card"), to

13    S.Y.K. on December 20, 2013.      These petitions claimed that S.Y.K. was

14    to be employed as a Chinese language teacher and that Y.S.K. was to

15    be employed as a music teacher.      However, these assertions were false

16    because (1) neither of these beneficiaries had been hired by BEI, (2)

17    BEI's operator did not know these beneficiaries, (3) BEI did not

18    employ Chinese language or music teachers, and (4) BEI did not offer

19    classes in Chinese or music.

20         For tax years 2009 through 2014, defendant subscribed to and

21    authorized the electronic filing of IRS Form 1040, Schedule C, Profit

22    or Loss from Business, for the Law Offices of Mihae Park as part of

23    her individual income tax returns.         These returns contained written

24    declarations by defendant that they were being signed subject to the

25    penalties of perjury.     These returns described defendant's principal

26    business as "attorney" and listed defendant as the proprietor of the

27    business.   Defendant only reported gross receipts totaling $2,516,290

28    in her filed tax returns for these six years.        However, during that

                                            13
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 14 of 26 Page ID #:23




 1 Iperiod, defendant's actual gross receipts were $3,279,708.90.            As a

 2    result, defendant underreported her receipts by $763,418.90 in total

 3    over this period.      In particular, in her tax return for the year

 4    2012, which defendant subscribed to and authorized the electronic

 5    filing with IRS on or about March 26, 2013, defendant reported gross

 6    receipts of $418,840.00 while she actually had gross receipts .of

 7    $716,812.73, resulting in an underreporting of $297,972.73 for that

 8   ~ year.

 9             As a result of her underreporting of receipts, defendant had a

10    deficiency in income taxes paid during the period 2009 to 2014

11    totaling $266,988.00.     In particular, in defendant's tax return for

12    the year 2012, she had a deficiency of income tax paid of

13    $102,001.00.     Defendant transmitted to her tax preparer from her

14    residence in Laguna Beach, California an authorization for electronic

15   filing of this return.      Defendant knew when she subscribed to and

16    authorized the electronic filing of these tax returns that they

17    contained false information that would influence IRS's decisions and

18    activities, that federal tax law imposed a duty on her, and defendant

19   intentionally and voluntarily violated that duty.

20         Defendant deposited into a business bank account at Bank of

21   America funds that she received for creation and filing of fraudulent

22   visa petitions.      Defendant then withdrew some of those funds and used

23   those funds (1) as the opening deposit for defendant's Account No.

24   XXXXX6267 at JP Morgan Chase Bank; (2) for a deposit in the amount of

25   $250,000.00 into defendant's Account No. XXX-XX3804 at Fidelity

26   Investments; (3) for a deposit of $50,000.00 into defendant's Account

27   No. XXX8-ACG at All Star Capital; (4) to purchase a 2012 California

28   Ferrari, VIN ZFF65LJA8C0184890, License No. 6YZF143; and (5) to

                                            14
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 15 of 26 Page ID #:24




 1    purchase a 2015 Volkswagen GTI, VIN 3VW4T7AU7FM043224.         On August 31,

 2    2017, the government seized $6,857.70 from JP Morgan Chase Account

 3    No. XXXXX6267, $234,824.81 from Fidelity Account No. XXX-XX3804, and

 4    $50,800.00 from All Star Capital Account No. XXX8-ACG, which amounts

 5    were exclusive of funds traceable to a source other than payments to

 6    defendant for the fraudulent visa petitions.        The government also

 7    then seized the 2015 Volkswagen GTI, VIN 3VW4T7AU7FM043224, and the

 8    2012 California Ferrari, VIN ZFF65LJA8C0184890, License No. 6YZF143.

 9    All of the money defendant withdrew from her business bank account to

10    purchase the Volkswagen was received for creation and filing of

11    fraudulent visa petitions and at least $190,627.27 of the money used

12    to purchase the Ferrari was exclusive of funds traceable to a source

13 b other than payments to defendant for the fraudulent visa petitions.

14                                 SENTENCING FACTORS

15         14.   Defendant understands that in determining defendant's

16   sentence the Court is required to calculate the applicable Sentencing

17   Guidelines range and to consider that range, possible departures

18   under the Sentencing Guidelines, and the other sentencing factors set

19   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

20   Sentencing Guidelines are advisory only, that defendant cannot have

21   any expectation of receiving a sentence within the calculated

22   Sentencing Guidelines range, and that after considering the

23   Sentencing Guidelines and the other § 3553(a) factors, the Court will

24   be free to exercise its discretion to impose any sentence it finds

25   appropriate up to the maximum set by statute for the crimes of

26   conviction.

27         Defendant and the USAO agree to the following applicable

28   Sentencing Guidelines factors:

                                            15
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 16 of 26 Page ID #:25




 1    Base Offense Level          11    [U.S.S.G. ~ 2L2.1(a)]

 2          The parties agree that the specific offense characteristic based

 3    on the number of documents involved, U.S.S.G. ~ 2L2.1(b)(2), is

 4    applicable, and defendant agrees that there were at least 25

 5    documents involved so that an enhancement of at least six offense

 6    levels will be applied under U.S.S.G. ~ 2L2.1(b)(2)(B).          The

 7    government contends that at least 100 documents were involved and

 8    will argue that a nine-level enhancement applies under U.S.S.G.

 9   ~ ~ 2L2.1(b)(2)(C).   Whether the enhancement should be six or nine

10    levels is an issue that remains to be resolved at sentencing.

11               Adjustments

12               Abuse of Trust            + 2     [U.S.S.G. ~ 3B1.3]

13               Grouping of

14               Multiple Counts           + 2     [U.S.S.G. § 3D1.4(a)]

15         Defendant and the USAO reserve the right to argue that

16    additional specific offense characteristics, adjustments, and

17    departures under the Sentencing Guidelines are appropriate.

18         15.   Defendant understands that there is no agreement as to

19    defendant's criminal history or criminal history category.

20         16.   Defendant and the USAO reserve the right to argue for a

21    sentence outside the sentencing range established by the Sentencing

22    Guidelines based on the factors set forth in 18 U.S.C. ~ 3553(a)(1),

23    (a)(2), (a)(3), (a)(6), and (a)(7).

24                         WAIVER OF CONSTITUTIONAL RIGHTS

25         17.   Defendant understands that by pleading guilty, defendant

26    gives up the following rights:

27               a.    The right to persist in a plea of not guilty.

28               b.    The right to a speedy and public trial by jury.

                                            16
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 17 of 26 Page ID #:26




 1               c.    The right to be represented by counsel - and if

 2    necessary have the court appoint counsel - at trial.         Defendant

 3    understands, however, that, defendant retains the right to be

 4    represented by counsel - and if necessary have the court appoint

 5    counsel - at every other stage of the proceeding.

 6               d.    The right to be presumed innocent and to have the

 7    burden of proof placed on the government to prove defendant guilty

 8    beyond a reasonable doubt.

 9               e.    The right to confront and cross-examine witnesses

10    against defendant.

11               f.    The right to testify and to present evidence in

12   opposition to the charges, including the right to compel the

13   attendance of witnesses to testify.

14               g.    The right not to be compelled to testify, and, if

15   defendant chose not to testify or present evidence, .to have that

16   choice not be used against defendant.

17               h.   Any and all rights to pursue any affirmative defenses,

18   Fourth Amendment or Fifth Amendment claims, and other pretrial

19   motions that have been filed or could be filed.

20                          WAIVER OF APPEAL OF CONVICTION

21         18.   Defendant understands that, with the exception of an appeal

22   based on a claim that defendant's guilty pleas were involuntary, by

23   pleading guilty defendant is waiving and giving up any right to

24   appeal defendant's convictions on the offenses to which defendant is

25   pleading guilty.     Defendant understands that this waiver includes,

26   but is not limited to, arguments that the statutes to which defendant

27   is pleading guilty are unconstitutional, and any and all claims that

28   the statement of facts provided herein is insufficient to support

                                            17
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 18 of 26 Page ID #:27




 1    defendant's pleas of guilty.

 2                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

 3          19.   Defendant agrees that, provided the Court imposes a term of

 4    imprisonment within or below the range corresponding to an offense

 5    level of 21 and the criminal history category calculated by the

 6    Court, defendant gives up the right to appeal all of the following:

 7    (a) the procedures and calculations used to determine and impose any

 8    portion of the sentence; (b) the term of imprisonment imposed by the

 9    Court; (c) the fine imposed by the court, provided it is within the

10    statutory maximum; (d) to the extent permitted by law, the

11    constitutionality or legality of defendant's sentence, provided it is

12    within the statutory maximum; (e) the amount and terms of any

13    restitution order, provided it requires payment of no more than

14    $266,988.00; (f) the term of probation or supervised release imposed

15    b y the Court, provided it is within the statutory maximum; and

16   (g) any of the following conditions of probation or supervised

17    release imposed by the Court: the conditions set forth in General

18   Orders 318, and 18-10 of this Court; the drug testing conditions

19   mandated by 18 U.S.C. §~ 3563(a)(5) and 3583(d); and the alcohol and

20   drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

21         20.    The USAO agrees that, provided all portions of the sentence

22   are at or below the statutory maximum specified above and (b) the

23   Court imposes a term of imprisonment within or above the range

24   corresponding to an offense level of 18 and the criminal history

25   category calculated by the Court, the USAO gives up its right to

26   appeal any portion of the sentence, with the exception that the USAO

27   reserves the right to appeal the following: (a) the amount of

28   restitution ordered if that amount is less than $266,988.00.
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 19 of 26 Page ID #:28




 1                            RESULT OF WITHDRAWAL OF GUILTY PLEA

 2             21.   Defendant agrees that if, after entering guilty pleas

 3        pursuant to this agreement, defendant seeks to withdraw and succeeds

 4        in withdrawing defendant's guilty pleas on any basis other than a

 5        claim and finding that entry into this plea agreement was

 6        involuntary, then the USAO will be relieved of all of its obligations

 7        under this agreement.

 8                                EFFECTIVE DATE OF AGREEMENT

 9             22.   This agreement is effective upon signature and execution of

10        all required certifications by defendant, defendant's counsel, and an

11        Assistant United States Attorney.

12                                    BREACH OF AGREEMENT

13             23.   Defendant agrees that if defendant, at any time after the

14        signature of this agreement and execution of all required

15        certifications by defendant, defendant's counsel, and an Assistant

16        United States Attorney, knowingly violates or fails to perform any of

17        defendant's obligations under this agreement ("a breach"), the USAO

18        may declare this agreement breached.     All of defendant's obligations

19        are material, a single breach of this agreement is sufficient for the

20        USAO to declare a breach, and defendant shall not be deemed to have

21        cured a breach without the express agreement of the USAO in writing.

22        If the USAO declares this agreement breached, and the Court finds

23        such a breach to have occurred, then:

24   '!              a.     If defendant has previously entered guilty pleas

25        pursuant to this agreement, defendant will not be able to withdraw

26        the guilty pleas.

27                   b.     The USAO will be relieved of all its obligations under

28        this agreement.

                                              19
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 20 of 26 Page ID #:29




 1      COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES OFFICE NOT

 2                                       PARTIES

 3          24.   Defendant understands that the Court and the United States

 4    Probation and Pretrial Services Offices are not parties to this

 5    agreement and need not accept any of the USAO's sentencing

 6    recommendations or the parties' agreements to facts or sentencing

 7    factors.

 8         25.    Defendant understands that both defendant and the USAO are

 9    free to: (a) supplement the facts by supplying relevant information

10    to the United States Probation and Pretrial Services Offices and the

11    Court, (b) correct any and all factual misstatements relating to the

12    Court'•s Sentencing Guidelines calculations and determination of

13    sentence, and (c) argue on appeal and collateral review that the

14   ' Court's Sentencing Guidelines calculations and the sentence it

15    chooses to impose are not error, although each party agrees to

16    maintain its view that the calculations in paragraph 14 are

17    consistent with the facts of this case.       While this paragraph permits

18    both the USAO and defendant to submit full and complete factual

19    information to the United States Probation and Pretrial Services

20    Offices and the Court, even if that factual information may be viewed

21    as inconsistent with the facts agreed to in this agreement, this

22    paragraph does not affect defendant's and the USAO's obligations not

23    to contest the facts agreed to in this agreement.

24         26.    Defendant understands that even if the Court ignores any

25    sentencing recommendation, finds facts or reaches conclusions

26   different from those agreed to, and/or imposes any sentence up to the

27    maximum established by statute, defendant cannot, for that reason,

28    withdraw defendant's guilty pleas, and defendant will remain bound to

                                            20
  Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 21 of 26 Page ID #:30




     1    fulLill all defQndant's cbliyations under this agreement.                 L~efendan~
     2    understands that no one -- nog the prosecutor, defendant's attorney,

          or the Court -- can make a binding prediction or promise regarding

     4   the sentence defendant ~ti~ill receive, except that it will be within

   5      the statutory maximum.

   6                                NO ADDITIONAL AGREEiMENTS

   7           27.   Desendant understands ghat, except as set forth herein,

         there are no promises, understandings, or acxreements between the USAO
  0      and defendant or defendan~..'s attorney, and that no additional

IO       promise, unders~anding, or agreement may ~e entered into unless in a

11       writing signed b_y dl1 parties oi: on the record in court.

12                    PZEA AGREEMENT PART OF THE GUILTY PLEA HEARING

13             28.   mi~ie parties agree that. this agreement will ba considered

14       park. o~ the record of defendant's guilty plea hearing as if th.e

15 ' entire agreement had been read inL- o Lkie reccrc~ of the proceeding.

16       F.GREED ~;~dD ACCEPTED

17       Uri ~ TEll S'T'ATES ATTaRNLY'S OFFICE
         I'O~Z THE CENTRAL DISTRICT OF' CAIN:PORN ~P.
18
         I~ICQLA T . HAS?A1A
19       C~nitecl States Attorney

~o
2I           RENCE E. KOLE                                        Date
          _ sistant United States P.tto?-rtes
Lc
 am.


ZJ

~G
                                                                 i.Z,l
                                                                 Date
                                                                       t t I i ~'
2S
                                                                       +            r
26                                                              ~~ I ~,l       ~        1
                                                                 Date
27
         Counsel for Defendant
za       ~lihae P~ary:
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 22 of 26 Page ID #:31




     1                            CERTIFICATIQN OF D~FENDANI
 2              I have read this agreernerit in its en~~ret1.        I have had enough
 3       time to review and cons~_der this agreement, and I have carefully and

 4       thoroughly discussed euery part of it with my attorney.             I understand
 5       the terms oL this agreement, and I voluntarily agree to those terms.

 6 ~ I have discussed she evidence wiz            my attorney, and my attorney has
 7       a dvised me of my rights, of possible pretrial motions -that might be

 8       filed, of passible defenses that might ~e asserted either prior to or

 9       at trial, ~     the sentencing factors set forth in I8 U.S.C. ~ 3553(a),

10       o~ relevant Sentencino~ Guidelines provisions, and of the consequences

li       cif entering info this agreement.       No promises, inducements, or
12       representations of any kind haves been mane to me other than those

13       contained in this agreement.       No ane has threatened ~r forced me in
1a       any wav to enter intc this agreement.         I am satisfied with the
15       r epresentation o~ rrty attorney in this matter, and I am pleading

16       guilty because ~ am gui_~ty of the charges and wish to take advantage

17       cf the promises set forth in this agreement, and not for aftiy other

18       reascan .

19

20

z1                                                               r~l ~ I lk'
         MI riAE FAR~C                                           ~~~~~~
22       Dnfendan~~~

L~                         CER'T''F'iCnTION OF DEFENDP_~:'I" 5 A`T'TORNEY

24             I am Mihae Park's ~ttornFy.       ~ h~v~ careiull_y and. thoroughly

25       discussed every p~~t of this agreement wjth rn~T client.           Further, ~
26       have fu11y advised my cl~~~~ p~ her righ~s, of possible pretrial

27       motions i.hat might be fi?ea, of nossi~le defenses that might be

28       asserted either prier to or at ~ria1_, of tfie sentencing fac~crs set
         Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 23 of 26 Page ID #:32




     1     forth in 18 U.S.C. ~ 3553(a?, of relevant SEntencing Guidelines

     L     provisions, and of the consequences of entering into this agreement.

           To my knowledge: no promises, inducements, or representations of any

 4         }rind have been made to my client other than these contained in this

 5         agreement, no one has threatened or forced my client in any way to

 6         enter into this acreement; my client's decision to enter into this

 7        agreement is an informed and voluntary one; and the factual basis set

 8        forth in phis agrEem~nt is sufficient ~o support my client`s entry
                                                                             of
 9        a guilty plea pursuant to this agreement.

1C

11                 _~-----.    c_.~_
                               }--.
12                                                                 ~ _ "~~   8
                                                                             ~c
                            '--~
                            `
          ~. DEAN STEWARD                                          Date
13
          Counse~ for Defendant
14        M~hae Fork

15

16

17

l~

19

20

21

22

23

24

25

26

27

28
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 24 of 26 Page ID #:33




 1

 2

 3

 4

 5

 6

 7

 8                         UNITED STATES DISTRICT COURT

 9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,

12              Plaintiff,                  ~i►~iati~i~~s~~~i~~l

13                    v.                    [18 U.S.C. § 1546(a)   Fraud and
                                            Misuse of Visas, Permits, and
14   MIHAE PARK,                            Other Documents; 26 U.S.C.
                                            § 7206(1) : Making and
15                                          Subscribing to a False Tax
                Defendant.                  Return]
16

17

18        The United States Attorney charges:

19                                    COUNT ONE

20                             [18 U.S.C. § 1546(a)]

21        From on or about August 23,      2013 through on or about

22   December 20, 2013, in Orange County, within the Central District

23   o f California, defendant MIHAE PARK ("PARK") knowingly caused to

24   be possessed, obtained, accepted, and received a Form I-551,

25   Permanent Resident Card, in the name of S.Y.K. , which defendant

26   PARK knew to be falsely made, procured by means of a false claim

27   and statement, otherwise procured by fraud, and otherwise

28   unlawfully obtained, in that defendant PARK submitted an I-140

                                                       EX ~~IT
     Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 25 of 26 Page ID #:34




 1   immigrant visa petition in the name of Best Educational

 2   Institute, Inc. ("BEI") for the benefit of S.Y.K. knowing that

 3   the application contained fraudulent statements, including that

 4   BEI intended to employ S.Y.K. as a Chinese language teacher,

 5   when, in truth and in fact, as defendant PARK well knew, (1) BEI

 6   had not hired and did not intend to employ S.Y.K., (2) BEI was

 7   not even acquainted with S.Y.K., and (3) BEI did not employ

 8   Chinese language teachers.

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          2
       Case 8:18-cr-00261-JVS Document 5 Filed 12/19/18 Page 26 of 26 Page ID #:35
                                                                                     x




  1                                     COUNT TWO

  2                             [26 U.S.C. § 7206(1)]

  3         On or about April 1, 2013, in Orange County, within the

 4     Central District of California, defendant MIHAE PARK ("PARK"), a

 5     resident of Laguna Beach, California, willfully made, subscribed

 6     to, and authorized the electronic filing of a materially false

 7     United States Individual Income Tax Return, Form 1040, Schedule

 8     C, for the calendar year 2012, which was electronically filed

 9     with the Internal Revenue Service, verified by written

10     declaration that it was made under the penalty of perjury, and

11     which defendant PARK did not believe to be true and correct as to

12     every material matter, in that defendant PARK falsely reported,

13     on line 1 of Schedule C of such Form 1040, that the gross

14'    receipts for defendant PARK's law office for calendar year 2012

15     were $418,840.00 when, in truth and in fact, as defendant PARK

16     then well knew and believed, her gross receipts for the calendar

17     year 2012 were substantially higher.

18

19                                              NICOLA T. HANNA
                                                United States Attorney
20

21

22                                           LAWRENCE S. MIDDLETON
                                             Assistant United States Attorney
23                                           Chief, Criminal Division

24 -                                         DENNISE D. WILLETT
                                             Assistant United States Attorney
25                                           Chief, Santa Ana Branch Office

26                                           LAWRENCE E. KOLE
                                             Assistant United States Attorney
27

28

                                            3
